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UNITED sTA TES DISTRICT coURT W~EY
WESTERN DISTRICT OF TENNESSE& mm 25 ph 2.11
WESTERN DIVISION _ n
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‘J.'E= MPH?S
MARK A. AUGUSTI, as TreasurerIr JUDGMENT IN A CIVIL CASE
and MARK A. AUGUSTI FOR CONGRESS
V¢
FEDERAL ELECTION COMMISSION CASE NO: 04-2454-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED A.ND ADJUDGED that in accordance with the Order of
voluntary Dismissal entered on August 16, 2005, this cause is
hereby dismissed without prejudice.

APPROVED:

 

 

 

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Notice of Distribution

This notice confirms a copy cf the document docketed as number 17 in
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ESSEE

 

Holly J. Baker

FEDERAL ELEC TION COMMIS SION
999 E Street7 N.W.

Washington, DC 20463

Colleen T. Sealander

FEDERAL ELEC TION COMMIS SION
999 E Street7 N.W.

Washington, DC 20463

Mark A. Augusti
488 Tree Top Cv.
Cordova, TN 38018

Honcrable Bernice Donald
US DISTRICT COURT

